Case 1:20-cv-00484-RDA-TCB Document 590 Filed 03/26/22 Page 1 of 3 PageID# 15654




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.,
              Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT                 CASE NO. 1:20-CV-484-RDA-TCB
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,
              Defendants.

  800 HOYT LLC,
              Intervening Interpleader
              Plaintiff, Intervening
              Interpleader Counter-
              Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS; LLC,
              Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON DATA
  SERVICES, INC.,
              Interpleader Defendants,
              Interpleader Counter-Plaintiffs.

                   NOTICE OF HEARING ON PLAINTIFFS’
         MOTION TO WITHDRAW AND SUBSTITUTE VERIFICATIONS AND
           CERTAIN DECLARATIONS AND FOR PROTECTIVE ORDER
Case 1:20-cv-00484-RDA-TCB Document 590 Filed 03/26/22 Page 2 of 3 PageID# 15655




         PLEASE TAKE NOTICE that on April 8, 2022, at 10:00 a.m., or as soon thereafter as the

  matter may be heard, counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.

  will present argument before this Court on their Motion to Withdraw And Substitute Verifications

  And Certain Declarations And For Protective Order.



   Dated: March 25, 2022                            Respectfully submitted,

                                                    /s/ Michael R. Dziuban       .
                                                    Elizabeth P. Papez (pro hac vice)
                                                    Patrick F. Stokes (pro hac vice)
                                                    Claudia M. Barrett (pro hac vice)
                                                    David W. Casazza (pro hac vice)
                                                    Michael R. Dziuban (Va. State Bar No. 89136)
                                                    GIBSON, DUNN & CRUTCHER LLP
                                                    1050 Connecticut Avenue, N.W.
                                                    Washington, D.C. 20036-5306
                                                    Telephone: (202) 955-8500
                                                    Facsimile: (202) 467-0539
                                                    epapez@gibsondunn.com
                                                    pstokes@gibsondunn.com
                                                    cbarrett@gibsondunn.com
                                                    dcasazza@gibsondunn.com
                                                    mdziuban@gibsondunn.com

              Counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc
Case 1:20-cv-00484-RDA-TCB Document 590 Filed 03/26/22 Page 3 of 3 PageID# 15656




                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 25, 2022, I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system. I will then send the document and a notification of such filing

  (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:



                                                      Casey Kirschner
                                                      635 N. Alvarado Lane
                                                      Plymouth, MN 55447
                                                      By email: casey.kirschner@gmail.com

                                               s/ Michael R. Dziuban
                                               Michael R. Dziuban
                                               GIBSON, DUNN & CRUTCHER LLP
                                               1050 Connecticut Avenue, N.W.
                                               Washington, D.C. 20036-5306
                                               Telephone: (202) 955-8500
                                               Facsimile: (202) 467-0539
                                               mdziuban@gibsondunn.com

                                               Counsel for Plaintiffs Amazon.com, Inc. and Amazon
                                               Data Services, Inc.




                                                  2
